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                            IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

RUFF WEAR, INC., an Oregon
corporation,

               Plaintiff,                                    Civ. No. 6:14-cv-00376-MC

       v.                                                    OPINION AND ORDER

ORIGINAL DOG GEAR, ApS,

            Defendant.
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MCSHANE, Judge:

       This Court has received from the parties a Stipulation of Dismissal, ECF No. 13. Having

reviewed the Stipulation, this Court finds good cause to approve the parties’ Stipulation and to

dismiss this action. This action is dismissed without prejudice, each party shall bear its own

costs, expenses, and attorneys’ fees, and neither party shall be deemed a prevailing party for any

purpose.



IT IS SO ORDERED.



       DATED this 21st day of May, 2014.


                                       s/Michael J. McShane
                                ____________________________
                                      Michael J. McShane
                                   United States District Judge




1 – OPINION AND ORDER
